                                                                 Kevin M. Cuddy (Bar No. 0810062)
                                                                 STOEL RIVES LLP
                                                                 510 L Street, Suite 500
                                                                 Anchorage, AK 99501-1959
                                                                 Telephone: (907) 277-1900
                                                                 Facsimile: (907) 277-1920
                                                                 kevin.cuddy@stoel.com

                                                                 Christopher Ward (IL Bar No. 6298759)
                                                                 FOLEY & LARDNER LLP
                                                                 321 North Clark Street, Suite 2800
                                                                 Chicago, IL 60654-5313
                                                                 Telephone: (312) 832-4500
                                                                 Facsimile: (832) 832-4700
                                                                 cward@foley.com
                                                                 Admission pro hac vice pending
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 Attorneys for Plaintiff


                                                                                           UNITED STATES DISTRICT COURT
STOEL RIVES LLP




                                                                                             FOR THE DISTRICT OF ALASKA

                                                                 AIRCRAFT SERVICE INTERNATIONAL,                  Case No.
                                                                 INC. dba AIRCRAFT SERVICE
                                                                 INTERNATIONAL GROUP and ASIG, a                  COMPLAINT FOR DECLARATORY
                                                                 Delaware corporation,                            JUDGMENT AND FOR TEMPORARY
                                                                                                                  RESTRAINING ORDER AND
                                                                                                     Plaintiff,   INJUNCTIVE RELIEF

                                                                        v.

                                                                 INTERNATIONAL ASSOCIATION OF
                                                                 MACHINISTS & AEROSPACE WORKERS,
                                                                 DISTRICT LODGE 160 and ANCHORAGE
                                                                 LOCAL LODGE NO. 1690,

                                                                                                  Defendants.




                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -1
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH   Document 1 Filed 08/09/17 Page 1 of 22
                                                                         VERIFIED COMPLAINT FOR DECLARATORY JUDGMENT AND FOR
                                                                          TEMPORARY RESTRAINING ORDER AND INJUNCTIVE RELIEF

                                                                                                           Introduction

                                                                        1.      Aircraft Service International, Inc. (“ASII”), doing business under the trade

                                                                 names Aircraft Service International Group and/or ASIG (hereinafter referred to as “ASIG”),

                                                                 brings this suit seeking a declaratory judgment and injunctive relief arising out of an unlawful

                                                                 work stoppage threatened by a group of ASIG employees at the Ted Stevens Anchorage

                                                                 International Airport (“ANC” or “Airport”), with the encouragement and support of the

                                                                 International Association of Machinists & Aerospace Workers, District Lodge 160 (“District
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 Lodge 160”) and its Anchorage Local Lodge 1690 (“Local 1690”) and individuals and entities

                                                                 affiliated with and acting in concert with them (District Lodge 160 and Local 1690 and
STOEL RIVES LLP




                                                                 individuals and entities affiliated with and acting in concert with them shall be collectively

                                                                 referred to as the “Union”). The contemplated strike would violate the Railway Labor Act

                                                                 (“RLA”), 45 U.S.C. §§ 151 et seq., and threatens to cause substantial disruption in the airline

                                                                 industry both locally at ANC and throughout the country and the world, which would cause

                                                                 significant harm to all those constituencies in Alaska that depend upon a functioning major

                                                                 airport in Anchorage for employment, interstate commerce, tourism, and economic and

                                                                 personnel access to the rest of the country and the world. Such unlawful action thus must be

                                                                 enjoined.

                                                                        2.      Based on what has occurred over the two months prior to ASIG initiating this

                                                                 legal action, and as described more fully herein, the Union’s intent to incite a strike is imminent

                                                                 and designed to unlawfully try and pressure ASIG into agreeing to continue recognizing the

                                                                 Union and to secure a new Collective Bargaining Agreement with ASIG.


                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -2
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH     Document 1 Filed 08/09/17 Page 2 of 22
                                                                        3.      ASIG is an employer performing work historically performed by commercial

                                                                 airline carriers. ASIG operates at ANC under the significant control of those air carriers. Any

                                                                 rights and obligations regarding labor relations and collective bargaining between ASIG and the

                                                                 Union are therefore governed by the RLA and not by the National Labor Relations Act. The

                                                                 RLA makes it abundantly clear that the Union has no right to engage in a labor strike or any

                                                                 other concerted job action under these circumstances, such that its threatened strike activity is

                                                                 unlawful.

                                                                        4.      ASIG performs vital and necessary functions for the overwhelming majority of

                                                                 the commercial airlines operating at ANC, including fueling over 90 percent of all commercial
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 passenger and cargo flights at the Airport. ASIG operates at ANC pursuant to a master contract
STOEL RIVES LLP




                                                                 between ASIG and a consortium of airlines that owns the fueling facilities and instruments at

                                                                 ANC. Customers at ANC for whom ASIG fuels all of their flights include American Airlines,

                                                                 Delta, United, Alaska Airlines, Jet Blue, Icelandair and China Airlines. Thus, any labor strike by

                                                                 ASIG’s employees at ANC would have the certain effect of causing major delays and

                                                                 cancellations to flights in and out of ANC, and could even cause the shutdown of virtually all

                                                                 flight operations in and out of ANC.

                                                                        5.      ANC is also a major hub for air cargo operations. FedEx Express and UPS

                                                                 operate major hubs at ANC for cargo heading to Asia. In 2015, Airports Council International

                                                                 listed ANC as the fourth largest airport in the world and number two in the United States for

                                                                 handling air cargo traffic. Because ASIG fuels nearly all the cargo flights departing ANC, the

                                                                 Union’s threatened action could effectively shut down critical shipments of cargo in and out of

                                                                 Alaska and visit a significant harm on interstate and international commerce.



                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -3
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH     Document 1 Filed 08/09/17 Page 3 of 22
                                                                           6.   Air service is of such critical importance to Alaska, which lacks interstate

                                                                 highways for over-the-road transportation available in the lower 48 states, that the U.S.

                                                                 Government maintains an Essential Air Service subsidy program for air travel in Alaska to

                                                                 ensure the state as a whole and its remote communities have access to the national economy and

                                                                 to critical services and resources. A disruption of fueling operations at ANC would have

                                                                 deleterious and potentially disastrous effects on Alaska Natives living in remote villages seeking

                                                                 access to medical care at Alaska Native Medical Center in Anchorage, disrupting the all-

                                                                 important summer tourist season and hindering or even cutting off the state’s access to the larger

                                                                 U.S. economy and supply of resources.
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                           7.   A labor strike at ANC would be directly at odds with specific provisions of the
STOEL RIVES LLP




                                                                 RLA, which Congress extended to the commercial airline industry specifically to prevent labor

                                                                 strife from interfering with and shutting down air transit in the United States.         Because

                                                                 substantial and irreparable harm would result to ASIG, its customers, the flying public and those

                                                                 in the U.S. and around the world that depend upon the flow of passenger flights and cargo

                                                                 through ANC if such an action would be permitted to occur, this Court should grant the

                                                                 temporary restraining order, preliminary and permanent injunction relief requested by ASIG

                                                                 herein.

                                                                           8.   On multiple occasions prior to commencement of this action, Local 1690 has

                                                                 taken steps to conduct a secret-ballot strike authorization vote pursuant to the Constitution of

                                                                 International Association of Machinists authorizing labor strike at ANC upon expiration of the

                                                                 existing CBA between the Union and ASIG.            Representatives of the Union have further

                                                                 communicated to ASIG that the Union has received authorization from employees to call them



                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -4
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH     Document 1 Filed 08/09/17 Page 4 of 22
                                                                 out on strike if a new Collective Bargaining Agreement is not reached between ASIG and the

                                                                 Union and that the Union will do so if ASIG does not accede to its demands.

                                                                        9.      However, because the Union does not have majority support of ASIG employees

                                                                 in the relevant craft or class (Fuelers) across the entire ASIG system, and the Union has never

                                                                 received any official certification as the bargaining representative of ANC employees. ASIG’s

                                                                 recognition of the Union has always been voluntary and may be revoked unilaterally by ASIG.

                                                                        10.     Because the Union does not represent a majority of the entire craft or class of

                                                                 ASIG’s nationwide operations as is required for certification under the RLA, ASIG has decided

                                                                 to withdraw its voluntary recognition of the Union. The Union’s threat to incite an unlawful
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 strike is simply a strategy to preserve a status it does not enjoy legally and cannot obtain through
STOEL RIVES LLP




                                                                 the proper legal method of resorting to the representation process under the RLA.

                                                                        11.     As established by a long list of court and administrative agency decisions,

                                                                 including courts in the Ninth Circuit, it is clear that the relationship between ASIG and the Union

                                                                 is governed by the RLA. Any strike under these circumstances would be illegal under the RLA.

                                                                        12.     The Union, through its representatives, refuses to acknowledge that labor relations

                                                                 between ASIG and the Union at ANC are governed by the RLA.

                                                                        13.     As recently as a few months ago, the National Labor Relations Board (“NLRB”)

                                                                 has acknowledged that it does not have jurisdiction over ASIG because of its RLA coverage and

                                                                 therefore refused to exercise jurisdiction over another union’s attempt to organize ASIG

                                                                 employees. Instead, the NLRB referred that matter to the National Mediation Board (“NMB”),

                                                                 the administrative agency charged with implementing the RLA. See NLRB Case No. 28-RC-

                                                                 195332/NMB File No. CJ-7175. Referral of a case filed with the NLRB to the NMB is the

                                                                 NLRB’s longstanding practice whenever it encounters a circumstance of even “doubtful” or

                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -5
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH     Document 1 Filed 08/09/17 Page 5 of 22
                                                                 “arguable” RLA coverage. A different region of the NLRB has also recently affirmatively ruled

                                                                 ASIG is covered by the RLA and dismissed an unfair labor practice charge without referral to the

                                                                 NMB. The NLRB’s Office of the General Counsel affirmed that dismissal, also agreeing that

                                                                 ASIG was covered by the RLA and the NLRB therefore did not have jurisdiction over ASIG as

                                                                 an employer or its current or former employees. See NLRB Case No. 13-CB-195191, involving

                                                                 IAM District Lodge 142

                                                                        14.     The irreparable injury showing that is typically required to obtain injunctive relief

                                                                 does not apply under the RLA because of the important public policy of avoiding interruptions to

                                                                 air commerce reflected in the RLA. Consolidated Rail Corp. v. Ry. Labor Execs. Ass’n, 491
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 U.S. 299, 303 (1989); S. Ry. Co. v. Bhd. of Locomotive Firemen, 337 F.2d 127, 134 (D.C. Cir.
STOEL RIVES LLP




                                                                 1964). Instead, upon a finding by the Court that the RLA applies or even arguably applies to

                                                                 ASIG, the Court may enter injunctive relief without considering the irreparable harm to ASIG.

                                                                        15.     Nonetheless, all of the traditional factors for granting injunctive relief are present

                                                                 here, including irreparable harm. Should the Union strike, irreparable injury will undoubtedly

                                                                 occur to ASIG, the flying public and those who depend upon the freight flowing through ANC.

                                                                        16.     Furthermore, given the RLA prohibitions against striking, there is a high degree

                                                                 of likelihood ASIG would prevail on the merits were this case litigated to its conclusion.

                                                                                                      Jurisdiction and Venue

                                                                        17.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this

                                                                 case arises under the laws of the United States, specifically the RLA, 45 U.S.C. §§ 151, et seq.

                                                                 Jurisdiction also is appropriate under 28 U.S.C. § 1337, as the RLA is a law regulating

                                                                 commerce.



                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -6
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH     Document 1 Filed 08/09/17 Page 6 of 22
                                                                        18.     Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b) as a

                                                                 substantial part of the events giving rise to this suit occurred and will occur in Anchorage,

                                                                 Alaska.

                                                                                                               Parties

                                                                        19.     ASIG, headquartered in Fort Worth, Texas, is a provider of aviation-related

                                                                 services to commercial airlines at various airports throughout the country, including ANC. As

                                                                 recognized repeatedly by the federal Courts, the NMB and the NLRB, ASIG is a “carrier” as that

                                                                 term is defined by the RLA, and is subject to that statute.

                                                                        20.     International Association of Machinists & Aerospace Workers’ District Lodge
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 160 (“District Lodge 160”) is an unincorporated labor organization whose headquarters is
STOEL RIVES LLP




                                                                 located in Seattle, Washington.

                                                                        21.     International Association of Machinists & Aerospace Workers’ Local Lodge 1690

                                                                 is an unincorporated labor organization that is under the umbrella of District Lodge 160 and

                                                                 maintains headquarters in Anchorage, Alaska. Local Lodge 1690 is also a party to the CBA and

                                                                 purports to represent ASIG’s employees at ANC.

                                                                                                        Factual Background

                                                                 ASIG’s Operations are Essential to the Operation of Ted Stevens Anchorage International
                                                                                                         Airport

                                                                        22.     ASIG manages the overwhelming majority of all fueling operations at ANC and

                                                                 its operations at the Airport are completely fueling-focused. ASIG employees commonly

                                                                 referred to as “Fuelers” provide at least 90% of all into-plane fueling services for commercial

                                                                 carrier passenger and cargo flights departing out of ANC.

                                                                        23.     Pursuant to contract with Anchorage Fueling and Service Company, the

                                                                 shareholders of which are all carrier airlines (the “Consortium”), ASIG manages the Consortium-
                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -7
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH      Document 1 Filed 08/09/17 Page 7 of 22
                                                                 owned fuel tank “farm” at ANC and ensures the farm operates consistently with and maintains

                                                                 required fuel stores per the Consortium’s requirements.

                                                                        24.      Also pursuant to contract with the airlines, ASIG manages and maintains the 7-

                                                                 mile pipeline that supplies jet fuel from the Port of Anchorage to ANC itself, and also assists the

                                                                 Consortium airlines with offloading fuel they purchase and have delivered to the Port and

                                                                 processing that fuel into the pipeline system. As with its into-plane fueling operations, ASIG

                                                                 must also perform all this work consistent with the standard operating procedures set by the

                                                                 airlines, such that the specific actions ASIG employees perform are dictated by the carrier’s

                                                                 requirements.
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                        25.      Given that ASIG manages virtually the entire fuel supply – from the delivery of
STOEL RIVES LLP




                                                                 the fuel at the Port to the point where it goes into the airplanes – a labor disruption would

                                                                 significantly harm nearly all ANC passenger and cargo traffic, resulting in significant flight

                                                                 delays if not outright cancellations of flights attempting to depart from Anchorage. As result

                                                                 Alaska Natives may be denied medical treatment in Anchorage and the all-important summer

                                                                 tourist season which is a vital part of the Alaskan economy will be disrupted.

                                                                        26.      Additionally, ANC is a major air cargo hub, particularly for cargo heading to

                                                                 Asia, and was identified in 2015 by Airports Council International as the fourth largest cargo

                                                                 airport in the world and number two in the U.S. behind Memphis (where FedEx is based). Any

                                                                 fueling disruption caused by labor strife would thus have a deleterious effect on air freight out of

                                                                 one of the most important cargo locations in the world.

                                                                              ASIG Performs Functions Traditionally Performed by Air Carriers and Is
                                                                                                   Controlled by Air Carriers

                                                                        27.      The Consortium carriers that ASIG services at ANC control the what, when,

                                                                 where and how of every facet of ASIG’s operations at ANC. Unlike many other airports where
                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -8
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH     Document 1 Filed 08/09/17 Page 8 of 22
                                                                 carrier contractors will have separate agreements with different airlines, ASIG has a single

                                                                 contract with the Consortium that governs its entire operation in ANC.

                                                                        28.     The contract between ASIG and the Consortium is a “cost-plus” contract. This

                                                                 means that ASIG simply takes its costs and passes them through to the Consortium, which is

                                                                 then obligated to reimburse ASIG for those costs. Accordingly, the Consortium has an enormous

                                                                 incentive to control ASIG’s operations to ensure that they are being run efficiently and in fact

                                                                 exercises that control.

                                                                        29.     One aspect of the Consortium’s financial control over ASIG requires it to submit

                                                                 to the Consortium annual staffing tables that set out ASIG’s proposed staffing levels for the
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 coming year, along with proposed wage rates for each proposed employee. Those tables are
STOEL RIVES LLP




                                                                 entirely subject to the approval of the Consortium, meaning that the Consortium has an effective

                                                                 veto over ASIG’s staffing levels and pay rates.

                                                                        30.      Moreover, if circumstances change over the course of the year (if, for example, a

                                                                 carrier increases the number of flights through Anchorage in the middle of the year), ASIG must

                                                                 obtain permission from the Consortium if it needs to hire new employees. Likewise, if ASIG and

                                                                 the Union are engaged in collective bargaining, and the Union seeks a higher than expected wage

                                                                 increase, ASIG is required to consult with the Consortium prior to accepting the Union’s

                                                                 proposal.

                                                                        31.     The Consortium requires ASIG to develop, at the Consortium’s expense, an

                                                                 operations manual governing its operations. But despite the fact that ASIG must create this

                                                                 manual, the Consortium retains unilateral authority to approve or reject it.




                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 -9
                                                                 4822-5706-9644.1
                                                                   Case 0100301-00001
                                                                 93737897.1 3:17-cv-00167-HRH     Document 1 Filed 08/09/17 Page 9 of 22
                                                                        32.     Carriers also provide fueling manuals to ASIG that govern the specific terms that

                                                                 each carrier requires when flying planes. ASIG is required to be familiar with each carrier’s

                                                                 unique fueling manual and ensure that its employees comply with that carrier’s procedures.

                                                                        33.     On every flight serviced by ASIG, carrier personnel direct ASIG employees’

                                                                 performance down to minute details, including where on the airfield the fueling must occur (in

                                                                 other words, where ASIG employees work), at what time the fueling occurs (in other words,

                                                                 when ASIG employees work), how much fuel to load, the method used to load the fuel, and in

                                                                 which portions of the plane to load the fuel (in other words, how ASIG employees work). In

                                                                 fact, ASIG will not put one drop of fuel on any carrier plane at ANC without first receiving
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 instruction from the carrier on what it wants ASIG to do.
STOEL RIVES LLP




                                                                        34.     ASIG has absolutely no role in the content of any carrier’s fueling manual, despite

                                                                 the fact that ASIG is the party conducting all the fueling for those carriers at ANC.

                                                                        35.     Each carrier has the effective authority to terminate any individual ASIG Fueler

                                                                 based on their own personal decisions. At ANC, Fuelers must be able to work on flights for all

                                                                 airlines. This is one of the methods by which ASIG keeps costs down as required by the

                                                                 Consortium. Accordingly, if a carrier excludes a Fueler from that carrier’s operations, ASIG has

                                                                 no choice but to terminate the employee, based on the carrier’s unilateral decision. This has

                                                                 happened on multiple occasions, even where ASIG was unable to corroborate the allegations of

                                                                 misconduct made by the carrier.

                                                                        36.      Almost every piece of equipment and piece of property used by ASIG at ANC is

                                                                 owned or leased by the Consortium. By way of example, the fueling trucks and carts that ASIG

                                                                 used to fuel planes are owned by the Consortium and have large Consortium logos. These logos

                                                                 are visible to passengers both from the terminal as well as from the planes themselves. Any such

                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 10
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001          Document 1 Filed 08/09/17 Page 10 of 22
                                                                 passenger looking out a window of a plane or terminal would reasonably believe that an ASIG

                                                                 employee fueling a plane is actually an employee of the Consortium.

                                                                         37.    All the facilities used by ASIG in ANC, including offices, break rooms, work

                                                                 rooms, and the tank farm, are owned or leased by the Consortium.

                                                                                              Labor Relations Between ASIG and the Union

                                                                         38.    ASIG has for years voluntarily recognized the Union as the bargaining

                                                                 representative of a group of its workers at ANC and voluntarily negotiated a series of collective

                                                                 bargaining agreements with the Union.

                                                                         39.    Under the RLA, a union may be officially certified by the NMB. The NMB
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 certifies union representatives for a group of employees only where that group comprises a craft
STOEL RIVES LLP




                                                                 or class of employees the employer’s entire “system” of operations.

                                                                         40.    ASIG has operations at more than 30 airports across the United States, and a

                                                                 bargaining unit of “Fuelers” would be certified by the NMB only if a majority of the combined

                                                                 Fuelers at all of these dozens of airports voted in favor of a particular union.

                                                                         41.    The Union never sought nor has it ever obtained certification through the NMB as

                                                                 the representative of workers at ANC. It also has never obtained certification as the bargaining

                                                                 representative of any ASIG employees at ANC under any other statutory framework, such as the

                                                                 NLRA.

                                                                         42.    Nothing in the RLA prohibits employers like ASIG from voluntarily recognizing

                                                                 unions as the representative of employees on a less-than-system wide basis. However, because

                                                                 such narrow voluntary recognition is inconsistent with the RLA’s policy of system-wide

                                                                 representation, the NMB affords such voluntary relationships no legal standing in the event the

                                                                 parties have a dispute as is the case here.

                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 11
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001         Document 1 Filed 08/09/17 Page 11 of 22
                                                                        43.    In 2015, ASIG and the Union entered into a Collective Bargaining Agreement

                                                                 with an effective date of July 1, 2013 and an expiration date of June 30, 2017 (the “CBA”).

                                                                        44.    The CBA states that the Union purportedly represents a unit of ASIG’s employees

                                                                 located at ANC consisting of “All full time and regular part time Mechanics, Fuelers, Pit

                                                                 Technicians and Plant Operators employed by the Company at its Anchorage International

                                                                 Airport Facility, but excluding office clerical employees, sales and professional employees,

                                                                 guards and supervisors.”

                                                                        45.    None of the previous collective bargaining agreements entered into by ASIG and

                                                                 the Union covering ANC employees has ever explicitly recognized the Union under any
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 statutory scheme, and the most recent CBA between the parties is completely silent on the issue.
STOEL RIVES LLP




                                                                        46.    The CBA requires either party to give written notice of intent to terminate the

                                                                 CBA to the other at least 60 days prior to the scheduled expiration of the CBA.

                                                                                                  Origin of the Instant Labor Dispute

                                                                        47.    Because the Union has never received any official certification as the bargaining

                                                                 representative of ANC employees and because ASIG has never had any indication that the Union

                                                                 represents a majority of ASIG employees across the entire craft or class of employees as required

                                                                 by the RLA, ASIG decided in April of 2017 not to conduct further collective bargaining

                                                                 negotiations with the Union.

                                                                        48.    Consistent with the CBA’s provisions, on April 27, 2017, ASIG, acting through

                                                                 its legal counsel, gave formal written notice to the Union of its intention to terminate that

                                                                 agreement following its June 30, 2017 expiration and to withdraw recognition of the Union at

                                                                 that time.



                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 12
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001        Document 1 Filed 08/09/17 Page 12 of 22
                                                                        49.     The following day, the Union notified ASIG’s ANC General Manager of its own

                                                                 intent to terminate the CBA, but requested to enter into negotiations on a successor CBA. ASIG

                                                                 therefore again notified the Union that it intended to withdraw recognition from the Union and

                                                                 would not enter into negotiations over a successor CBA.

                                                                        50.     On June 14, Local 1690 conducted a secret-ballot strike authorization vote.

                                                                 Thereafter the Union notified ASIG that employees had authorized a strike and the Union would

                                                                 call for one if a new Collective Bargaining Agreement was not reached before July 1, 2017.

                                                                 Specifically, in a letter dated June 20, 2017, attorneys representing the Union wrote to counsel

                                                                 for ASIG, “As you probably know, the ASIG employees authorized a strike and, should the
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 parties not reach an agreement, ASIG employees may strike once the contract expires.”
STOEL RIVES LLP




                                                                        51.     The letter from the Union’s attorneys goes on to state “Your letter also asserts that

                                                                 the relationship between your client ASIG and its IAM represented employees at ANC is

                                                                 governed by the Railway Labor Act. That assertion is incorrect. For decades the parties’

                                                                 relationship has been governed by the National Labor Relations Act.”

                                                                        52.     In an attempt to discuss the disagreements between the parties both to avoid

                                                                 potential legal action by ASIG and an illegal strike by its employees, ASIG invited the Union to

                                                                 meet to discuss the situation at ANC and attempt to resolve their differences of opinion. Initially

                                                                 the Union rejected a meeting for such purpose, indicating it would only meet for the purpose of

                                                                 collective bargaining.

                                                                        53.     Nevertheless, ASIG again invited the Union to meet to attempt to avoid legal

                                                                 action and prevent an illegal strike. This time the Union agreed to meet, and representatives of

                                                                 ASIG and the Union accompanied by their respective counsel met in Seattle on July 10, 2017 to

                                                                 discuss the situation at ANC.

                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 13
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001        Document 1 Filed 08/09/17 Page 13 of 22
                                                                                            The Union Intends to Engage in an Illegal Strike

                                                                        54.     Prior to the scheduled July 10 meeting, the Union posted notice on July 6, 2017 of

                                                                 another strike sanction vote scheduled for July 12, 2017. The Union also began calling ASIG’s

                                                                 airline customer contacts at ANC, claiming that ASIG was acting in contravention of the NLRA

                                                                 and by doing so, attempted to create disruption with ASIG’s customer relationships.

                                                                        55.     ASIG understood these actions by the Union to mean the Union had no intent to

                                                                 address ASIG’s right to withdraw voluntary recognition and by its conduct, reaffirmed its

                                                                 intention to take illegal action. ASIG nevertheless agreed to go forward with the July 10, 2017

                                                                 meeting.
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                        56.     During the July 10 meeting, ASIG proposed a further “status-quo” agreement to
STOEL RIVES LLP




                                                                 allow continued consideration of the situation. The Union refused and at first demanded a three-

                                                                 year guarantee of continued voluntary recognition. When ASIG rejected that demand, the Union

                                                                 demanded an immediate wage increase for employees.           During this same meeting, ASIG

                                                                 ultimately agreed to a 2% wage increase for the duration of a 45-day extension agreement to the

                                                                 CBA. That extension will expire on August 24, 2017.

                                                                        57.     During that same meeting, Local Lodge 1690’s representative reiterated the

                                                                 Union’s position that the NLRA and not the RLA applies to the relationship between the parties.

                                                                 When asked by ASIG to provide factual or legal support for such an assertion, the Union’s

                                                                 counsel could only state that the relationship has always been covered by the NLRA, but offered

                                                                 no other support for such an assertion.

                                                                        58.     At no time has the Union or any of its attorneys presented any legal authority or

                                                                 basis for their conclusion that the NLRA and not the RLA governs the relationship between the



                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 14
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001        Document 1 Filed 08/09/17 Page 14 of 22
                                                                 parties at ANC. Furthermore, the Union has never responded in substance to the authority and

                                                                 support that ASIG has provided for the conclusion that ASIG is covered by the RLA.

                                                                        59.     Also at the July 10 meeting ASIG proposed that the parties agree that if ASIG

                                                                 would seek injunctive relief or if the Union would call a strike, they would give each other

                                                                 reasonable advanced notice of their intended action.         The Union explicitly rejected any

                                                                 suggestion that it would give ASIG any advance notice whatsoever before calling a strike. The

                                                                 Union stated words to the effect of “after obtaining authorization, we will strike whenever we

                                                                 decide we want to.” ASIG has understood this to mean that if it does not accede to the Union’s

                                                                 demand that it continue recognizing the Union and negotiate a successor CBA on terms the
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 Union deems favorable, they will call employees out on strike at its first opportunity, which is
STOEL RIVES LLP




                                                                 12:00 a.m. on August 25, 2017.

                                                                        60.     As evidenced by a long list of court and administrative agency decisions,

                                                                 including courts in the Ninth Circuit, it is clear that the relationship between ASIG and the Union

                                                                 is governed by the RLA. See, e.g., Aircraft Serv. Int’l, Inc. v. Int’l Bhd. of Teamsters AFL-CIO

                                                                 Local 117, No. C12-1729JLR, 2012 WL 5194163, at *1 (W.D. Wash. Oct. 18, 2012) (“Airline

                                                                 carriers such as [ASIG] are subject to … the Railway Labor Act (‘RLA’) that prohibits a

                                                                 carrier’s employees from striking at will”); aff’d, 742 F.3d 1110 (9th Cir. 2014), rev’d on other

                                                                 grounds and vacated sub nom. Aircraft Serv. Int’l, Inc. v. Int’l Bhd. of Teamsters, 779 F.3d 1069

                                                                 (9th Cir. 2015) (en banc); In the Matter of the Application of the Serv. Employees Int’l Union,

                                                                 United Serv. Workers W. Alleging A Representation Dispute Pursuant to Section 2, Ninth, of the

                                                                 Ry. Labor Act, As Amended Involving Employees of Aircraft Servs. Int’l Group, 40 NMB 43, 43

                                                                 (Nov. 20, 2012); Aircraft Servs. Int’l, Inc. & Teamsters, Auto. Chauffeurs, Parts, Garage, Office

                                                                 Clerical, Airline, Healthcare, Petroleum Indus., Produce, Bakery & Indus. Workers Within W.

                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 15
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001         Document 1 Filed 08/09/17 Page 15 of 22
                                                                 Pennsylvania & Joint Council No. 40, Local Union No. 926 a/w Int’l Bhd. of Teamsters, 352

                                                                 NLRB 137 (2008); Aircraft Serv. Int’l Group, Inc., 33 NMB 258 (2006); Aircraft Serv. Int’l

                                                                 Group, Inc., 33 NMB 200 (2006); Aircraft Serv. Int’l Grp., Inc. & Chauffeurs, Teamsters, &

                                                                 Helpers Local Union 492, Int’l Bhd. of Teamsters, Petitioner, 347 NLRB 1417 (2006); Aircraft

                                                                 Serv. Int’l Grp., Inc. & Local 324, Int’l Union of Operating Engineers, AFL-CIO & A.S.I.G.

                                                                 Employees Ass’n, 342 NLRB 977 (2004); Signature Flight Support/Aircraft Serv. Int’l, Inc., 32

                                                                 NMB 30 (2004); In the Matter of the Application of the Int’l Ass’n of Machinists & Aerospace

                                                                 Workers, AFL-CIO Alleging A Representation Dispute Pursuant to Section 2, Ninth, of the Ry.

                                                                 Labor Act, As Amended Involving Employees of Aircraft Servs. Int’l Group, 31 NMB 508, 508
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 (Sept. 3, 2004); Aircraft Serv. Int’l Group, Inc., 31 NMB 361 (2004); Re: Signature Flight
STOEL RIVES LLP




                                                                 Support of Nevada, 30 NMB 392 (July 1, 2003).

                                                                        61.     Section 2, First of the RLA imposes two obligations on a union: (1) it prohibits a

                                                                 union and its members from instigating, encouraging, or participating in a work action (or any

                                                                 other change in the status quo); and (2) it requires a union to make all reasonable efforts to

                                                                 prevent or stop a work action whether it has instigated the work action or not.

                                                                        62.     Section 2, First, of the RLA, 45 U.S.C. § 152, First, also imposes an affirmative

                                                                 legal duty on employers, unions, and employees “to exert every reasonable effort to make and

                                                                 maintain agreements concerning rates of pay, rules, and working conditions ... in order to avoid

                                                                 any interruption to commerce.”

                                                                        63.     The provisions of Section 2, Ninth of the RLA are mandatory and the sole basis

                                                                 for seeking union representation under the RLA, precluding employees from striking to obtain

                                                                 organization and empowering courts to enjoin such work stoppages.



                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 16
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001         Document 1 Filed 08/09/17 Page 16 of 22
                                                                                                              COUNT I

                                                                  Declaratory Judgment That The RLA Governs The Rights And Responsibilities Of ASIG
                                                                                                 And All Defendants

                                                                         64.     ASIG realleges and incorporates its allegations in paragraphs 1 through 63 as if

                                                                 fully set forth herein.

                                                                         65.     The parties have a substantial, continuing and actual controversy between them as

                                                                 to whether or not the RLA governs their collective bargaining relationship and the Union’s

                                                                 ability to call a lawful strike under the facts and circumstances.

                                                                         66.     ASIG has, with the support of the facts and the law, asserted that its relationship
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 with the Union is governed by the RLA. The Union, without offering any such support, claims

                                                                 the relationship is governed by the NLRA. The instant dispute has an enormous impact on the
STOEL RIVES LLP




                                                                 rights, responsibilities and obligations of the parties and dictates whether the Union has any right

                                                                 to call employees out on strike and whether such action, which will indisputably create serious

                                                                 and irreparable harm to many constituencies served by ANC, is specifically precluded by law.

                                                                         67.     Because ASIG’s ANC operation performs functions traditionally performed by

                                                                 carriers (namely, fueling airplanes) and is controlled by or under common control of a

                                                                 consortium of carriers, ASIG is necessarily a “carrier” within the meaning of the RLA.

                                                                         68.     As a carrier under the RLA, ASIG and its employees are expressly excluded from

                                                                 the coverage of the NLRA. 29 U.S.C. § 152(2), (3).

                                                                         69.     As a result of the parties’ differing positions, they have adverse legal interests

                                                                 with regard to this controversy.

                                                                         70.     A judicial determination of the parties’ rights and obligations as to whether the

                                                                 RLA or the NLRA applies to the relationship between ASIG and the Union at ANCs is

                                                                 necessary, appropriate, and desirable at this time.
                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 17
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001           Document 1 Filed 08/09/17 Page 17 of 22
                                                                         WHEREFORE, Aircraft Service International, Inc. prays that this Court grant the

                                                                 following relief:

                                                                                 A.        Issue a Declaratory Judgment that the RLA governs the relationship

                                                                 between ASIG and the Union at ANC;

                                                                                 B.        Award ASIG such other and further relief as this Court deems just and

                                                                 proper; and

                                                                                 C.        Grant ASIG such other and further relief as is just and proper, including

                                                                 costs and attorneys’ fees.
                  510 L Street, Suite 500, Anchorage, AK 99501




                                                                                                              COUNT II
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                                              Injunction for Violation of the Railway Labor Act
STOEL RIVES LLP




                                                                         71.     ASIG realleges and incorporates its allegations in paragraphs 1 through 63 as if

                                                                 fully set forth herein.

                                                                         72.     Section 2, First, of the RLA, 45 U.S.C. § 152, First, imposes an affirmative legal

                                                                 duty on employers, unions, and employees “to exert every reasonable effort to make and

                                                                 maintain agreements concerning rates of pay, rules, and working conditions ... in order to avoid

                                                                 any interruption to commerce.” This provision prohibits the Union from striking for the purpose

                                                                 of either obtaining or seeking to maintain recognition from ASIG.

                                                                         73.     Section 2, Ninth of the RLA, which provides for secret ballot elections of all

                                                                 employees within a craft or class across a carrier’s entire system, provides the sole basis for

                                                                 seeking union representation under the RLA. This provision both precludes employees from

                                                                 striking to obtain organization and empowers courts to enjoin such work stoppages and overrides

                                                                 the anti-strike provisions of the Norris-LaGuardia Act.


                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 18
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001           Document 1 Filed 08/09/17 Page 18 of 22
                                                                         74.     Regardless of the Union’s motivations for threatening a strike, the Union has no

                                                                 right to call a strike or engage in any other work stoppage action at ANC.

                                                                         75.     Similarly, ASIG’s employees at ANC have no right to strike or engage in any

                                                                 other job action at this time.

                                                                         76.     Therefore, an injunction is an appropriate and necessary remedy to compel the

                                                                 performance of the Union’s legal duty.

                                                                         77.     Under the RLA, ASIG is not required to establish irreparable injury to obtain an

                                                                 injunction against an unlawful strike.    See, e.g., Consolidated Rail Corp. v. Ry. Labor Execs.

                                                                 Ass’n, 491 U.S. 299, 303 (1989) (“The district courts have subject-matter jurisdiction to enjoin a
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 violation of the status quo pending completion of the required procedures, without the customary
STOEL RIVES LLP




                                                                 showing of irreparable injury.”); S. Ry. Co. v. Bhd. of Locomotive Firemen, 337 F.2d 127, 134

                                                                 (D.C. Cir. 1964) (“[T]he public interest in peaceful settlement of labor disputes through

                                                                 utilization of statutory procedures is also involved, and irreparable injury to the complaining

                                                                 party is not an element which bears significantly or relevantly on furthering the public interest.”).

                                                                         78.     Thus, upon a showing that a Union or its members have threatened a strike, a

                                                                 preliminary injunction should issue as a matter of course.

                                                                         79.     Nevertheless, even if a showing of irreparable injury to ASIG were required,

                                                                 domestic and international commerce and indeed all the many communities and individuals

                                                                 inside and outside Alaska that depend upon a functioning major airport in Anchorages will all

                                                                 suffer irreparable injury as a result of the Union engaging in an illegal strike or other concerted

                                                                 job action at ANC. By way of example, Alaska Natives may be denied access to medical care in

                                                                 Anchorage and the all-important summer tourist season will be disrupted causing great harm to

                                                                 the Alaskan economy. This major interruption to the health and well-being of Alaskans and the

                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 19
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001         Document 1 Filed 08/09/17 Page 19 of 22
                                                                 economy is exactly the type of social ill the RLA’s extreme limitation on workers’ right to strike

                                                                 was designed to avoid.

                                                                        80.      ASIG has no adequate remedy other than to seek injunctive relief to prevent an

                                                                 illegal strike or job action at ANC.

                                                                        WHEREFORE, Aircraft Service International, Inc. prays that this Court grant the

                                                                 following relief:

                                                                                A.        Issue a temporary restraining order and, after a hearing, a preliminary

                                                                 injunction to be made permanent on final judgment:

                                                                                B.      Restrain and enjoin the Defendants, their officers, agents, employees, and
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                 members, and all persons acting in concert or participation with them, from in any manner or by
STOEL RIVES LLP




                                                                 any means directing, calling, causing, authorizing, inducing, instigating, conducting, continuing,

                                                                 encouraging, or engaging in any primary strike, sympathy strike, secondary strike, work

                                                                 stoppage, picketing, sick-out, slow-down, work-to-rule campaign, or other concerted action

                                                                 which is intended to disrupt or interfere with the normal operations of ASIG or any of ASIG’s

                                                                 customers in violation of the RLA.

                                                                                C.      Requiring the Defendants and individuals and entities affiliated with and

                                                                 acting in concert with them to issue such notices and to take such steps as shall be necessary and

                                                                 appropriate to carry into effect the substance and intent of the preceding paragraph, including but

                                                                 not limited to the requirement that the Defendants (i) publicly withdraw and rescind any orders,

                                                                 directions, requests, or suggestions to ASIG employees to do any of the acts specified in the

                                                                 preceding paragraph, and (ii) affirmatively direct and advise the ASIG ANC employees, by

                                                                 written notice, to refrain from doing any such acts and to post such notice on bulletin boards,



                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 20
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001         Document 1 Filed 08/09/17 Page 20 of 22
                                                                 computer forums and websites, and at such other places that are reasonably likely to be viewed

                                                                 by ASIG ANC employees.

                                                                               D.      Grant ASIG such other and further relief as is just and proper, including

                                                                 costs and attorneys’ fees.



                                                                 Dated this 9th day of August, 2017

                                                                                                      STOEL RIVES LLP


                                                                                                      By: s/ Kevin M. Cuddy
                                                                                                          KEVIN M. CUDDY
                  510 L Street, Suite 500, Anchorage, AK 99501
                    Main (907) 277-1900 Fax (907) 277-1920




                                                                                                      FOLEY & LARDNER LLP
STOEL RIVES LLP




                                                                                                         CHRISTOPHER WARD
                                                                                                         (PRO HAC VICE PENDING)


                                                                                                          Counsel for Aircraft Service International, Inc.




                                                                 ASIG v. International Association of Machinists, Case No. _________________
                                                                 Complaint for Declaratory Judgment and for TRO and Injunctive Relief
                                                                 - 21
                                                                 4822-5706-9644.1
                                                                   Case 3:17-cv-00167-HRH
                                                                 93737897.1 0100301-00001       Document 1 Filed 08/09/17 Page 21 of 22
Case 3:17-cv-00167-HRH Document 1 Filed 08/09/17 Page 22 of 22
